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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

SOUTHERN INDEPENDENT                     )
BANK,                                    )
                                         )
             Plaintiff,                  )
                                         )
      v.                                 )      CASE NO. 2:15-CV-799-WKW
                                         )
FRED’S LLC,                              )
                                         )
             Defendant.                  )

                                      ORDER

      Upon consideration of the parties’ Stipulation of Dismissal With Prejudice

(Doc. # 86), which comports with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, this action has been dismissed with prejudice by operation of Rule 41, on

the terms agreed to by the parties.

      The Clerk of the Court is DIRECTED to close this case.

      DONE this 19th day of June, 2019.

                                           /s/ W. Keith Watkins
                                      UNITED STATES DISTRICT JUDGE
